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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

RYAN LLC,                                         §
                                                  §
         Plaintiff,                               §
                                                  §
CHAMBER OF COMMERCE OF THE                        §           Civil Action No. 3:24-CV-00986-E
UNITED STATES OF AMERICA,                         §
BUSINESS ROUNDTABLE, TEXAS                        §
ASSOCIATION OF BUSINESS, and                      §
LONGVIEW CHAMBER OF COMMERCE,                     §
                                                  §
         Plaintiff-Intervenors,                   §
                                                  §
v.                                                §
                                                  §
FEDERAL TRADE COMMISSION,                         §
                                                  §
         Defendant.                               §

                                  PRELIMINARY INJUNCTION

         By separate Memorandum Opinion and Order of this same date, the Court has determined

that (i) Plaintiff and Plaintiff-Intervenors (referred collectively as “Plaintiffs”) are substantially

likely to prevail on the merits of their challenge to the FTC’s Non-Compete Rule under the

Administrative Procedure Act, 5 U.S.C. § 706; (ii) Plaintiffs will suffer irreparable harm if no

preliminary injunction issues; (iii) the balance of harms favors the Plaintiffs; and (iv) the public

interest favors issuance of a preliminary injunction. The Court therefore enters the following

preliminary injunction (i) to take effect today and (ii) to continue effect until the Court’s decision

on the merits.

IT IS ORDERED THAT:

         1.      The Federal Trade Commission (FTC) and its respective agents, servants,
                 employees, and attorneys, and all persons acting in concert with the FTC
                 are wholly enjoined from implementation of or enforcement of the Non-

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               Compete Rule—16 C.F.R. § 910.1-.6—against Plaintiff Ryan, LLC, from
               the date of this order to the Court’s final adjudication on the merits. The
               Court hereby stays the effective date of the Rule as to Plaintiff Ryan, LLC.

       2.      The Federal Trade Commission (FTC) and its respective agents, servants,
               employees, and attorneys, and all persons acting in concert with the FTC
               are wholly enjoined from implementation of or enforcement of the Non-
               Compete Rule—16 C.F.R. § 910.1-.6—against Plaintiff Intervenors:
               Chamber of Commerce of the United States of America; Business
               Roundtable; Texas Association of Business; and Longview Chamber of
               Commerce, from the date of this order to the Court’s final adjudication on
               the merits. The Court hereby stays the effective date of the Rule as to these
               Plaintiff-Intervenors.

       Pursuant to Federal Rule of Civil Procedure 65(c), the Court waives the requirement of a

bond. See Fed. R. Civ. P. 65(c).

SO ORDERED this day of July 3, 2024.




                                             ___________________________________
                                             ADA BROWN
                                             UNITED STATES DISTRICT JUDGE




PRELIMINARY INJUNCTION                                                                    Page 2 of 2
